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                                                 October 22, 2021


 BY ECF

 Honorable Freda L. Wolfson
 Chief United States District Judge
 U.S. District Court for the District of New Jersey
 Clarkson S. Fisher Building & U.S. Courthouse
 402 East State Street Court, Room 5E
 Trenton, New Jersey 08608

                   Re:      Sanofi-Aventis U.S., LLC v. U.S. Department of Health and Human
                            Services, et al., Civil Action No. 3:21-cv-634

 Dear Chief Judge Wolfson:

        Today, HRSA provided Sanofi with the enclosed Initial Scheduling Order issued by the ADR
 Panel on October 20, 2021.


                                                             Respectfully Submitted,

                                                             s/ Jennifer L. Del Medico


 cc: All counsel of record




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